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                      IN THE UNITED STATES DISTRICT COURT FOR :3
                         THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION


                                               )
                                               )
       V.                                      )
                                               )
Travis Bardel Clark                            )       CASE NO, CR495-00123-001


                                              ORDER

       On July 24, 2008, Defendant filed a Motion For Early Termination Of Supervised Release.

The Court has carefully considered Defendant's Motion but does not believe early terniination is

appropriate at this time. Defendant was the leader of a large conspiracy responsible for distributing

at least 72 kilograms of cocaine base and at least 5 kilograms of cocaine hydrochloride. If Defendant

continues to abide by the conditions of supervised release, early termination may be considered at

a future date. Accordingly, Defendant's Motion is DENIED.

        SO ORDERED, this ______ day of October, 2008.



                                                      William T. Moore, Jr.
                                                      Chief Judge, U. S. District Court
